221 F.2d 801
    Dwight Richard BUTTERFIELD, Applicant,v.E. B. SWOPE, Respondent.
    Misc. No. 431.
    United States Court of Appeals Ninth Circuit.
    April 19, 1955.
    
      Dwight Richard Butterfield, in pro. per. for applicant.
      No appearance for respondent.
      Before DENMAN, Chief Judge, and BONE and ORR, Circuit Judges.
      PER CURIAM.
    
    
      1
      The United States District Court for the Northern District of California, Southern Division, dismissed applicant's application for a writ of habeas corpus and he now seeks permission to prosecute his appeal in forma pauperis and on a typewritten record.
    
    
      2
      The court below denied the application on October 29, 1954, and denied a rehearing on November 8, 1954.  Notice of appeal was filed on January 18, 1955, which is beyond the period prescribed by Rule 73, Rules of Civil Procedure, 28 U.S.C.  The application is ordered dismissed.
    
    